

Matter of Durham (2021 NY Slip Op 04741)





Matter of Durham


2021 NY Slip Op 04741


Decided on August 19, 2021


Appellate Division, Third Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered:August 19, 2021

PM-106-21
[*1]In the Matter of Steven John Durham, an Attorney. (Attorney Registration No. 5545017)

Calendar Date:August 16, 2021

Before:Egan Jr., J.P., Lynch, Clark, Aarons and Pritzker, JJ.

Steven John Durham, Alexandria, Virginia, pro se.
Monica A. Duffy, Attorney Grievance Committee for the Third Judicial Department, Albany, for Attorney Grievance Committee for the Third Judicial Department.



Per Curiam.
Steven John Durham was admitted to practice by this Court in 2017 and lists a business address in Washington, DC with the Office of Court Administration. Durham now seeks leave to resign from the New York bar for nondisciplinary reasons (see  Rules for Attorney Disciplinary Matters [22 NYCRR] § 1240.22 [a]). The Attorney Grievance Committee for the Third Judicial Department (hereinafter AGC) advises that it does not oppose Durham's application.
Upon reading Durham's affidavit sworn to July 11, 2021 and filed July 15, 2021, and upon reading the August 13, 2021 correspondence in response by the Chief Attorney for AGC, and having determined that Durham is eligible to resign for nondisciplinary reasons, we grant his application and accept his resignation.
Egan Jr., J.P., Lynch, Clark, Aarons and Pritzker, JJ., concur.
ORDERED that Steven John Durham's application for permission to resign is granted and his nondisciplinary resignation is accepted; and it is further
ORDERED that Steven John Durham's name is hereby stricken from the roll of attorneys and counselors-at-law of the State of New York, effective immediately, and until further order of this Court (see generally  Rules for Attorney Disciplinary Matters [22 NYCRR] § 1240.22 [b]); and it is further
ORDERED that Steven John Durham is commanded to desist and refrain from the practice of law in any form in the State of New York, either as principal or as agent, clerk or employee of another; and Durham is hereby forbidden to appear as an attorney or counselor-at-law before any court, judge, justice, board, commission or other public authority, or to give to another an opinion as to the law or its application, or any advice in relation thereto, or to hold himself out in any way as an attorney and counselor-at-law in this State; and it is further
ORDERED that Steven John Durham shall, within 30 days of the date of this decision, surrender to the Office of Court Administration any Attorney Secure Pass issued to him.








